Case 2:05-cr-20177-SH|\/| Document 102 Filed 07/07/05 Pagelon P [{DUJB
D.C.

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(k¢v 1193)
United States District Court w _§_|L -1 AH. 83 143
Western District of Tennessee mgng \§. GOULD
esa aaa
United States of America ) w OF TN'
)
vs )
)
Elishah Moody ) Case No. 05-20177-002” 61

CONSENT TO MODIFY CONDITIONS OF RELEASE

l, Elishah Moody, have discussed with Loretta Fleming, Pretrial Services/Probation Officer,
modification of my release conditions as follows:

1. Travel restricted to the Western District of Tennessee and the Northem District of Mississippi
for employment purposes only

I consent to this modification of my release conditions and agree to abide by this modification

/MW¢¢/L w " M%mé; W

Signature of Defendant Date Pretrial Services/Probation Officer

 

a eviewe the c `tioncs with my client an ncur that this modification is appropriate
Signature of Defense Counsel Date

[q”fhe above modification of conditions of release is ordered, to be effective on 07'-0¢-0(

[ ] The above modification of conditions of release is got ordered.

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Signature of J udicial Officer Date

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This document entered on the docket sheet in compliance ;2/7
with ama 33 ami/or 32(b) mch on 7~/¢2;0§ /U

 

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This notice confirms a copy of the document docketed as number 102 in
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Honorable Samuel Mays
US DISTRICT COURT

